         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                       CRIMINAL NO. 3:01CR11-2


UNITED STATES OF AMERICA                )
                                        )
                                        )
                 VS.                    )           ORDER
                                        )
                                        )
TERRY W. STEWART                        )
                                        )


     THIS MATTER is before the Court on the Defendant’s pro se motion

pursuant to 18 U.S.C. § 3572 to adjust the amount of restitution payments

he is required to make through the Inmate Financial Responsibility

Program.

     The Bureau of Prisons has the authority to place a defendant in the

Inmate Financial Responsibility Program based on the wording contained

in the criminal judgment. United States v. Watkins, 161 F. App’x 337 (4th

Cir. 2006); Bramson v. Winn, 136 F. App’x 380 (1st Cir. 2005). Prior to

seeking relief from any court concerning obligations under that program,

the defendant is required to exhaust all administrative remedies through

the Bureau of Prisons. McGhee v. Clark, 166 F.3d 884, 885-87 (7th Cir.




     Case 3:01-cr-00011-MOC   Document 470    Filed 03/13/07   Page 1 of 3
                                       2

1999). Thereafter, a defendant may challenge such payments but only by

filing the appropriate pleading in the district court of confinement, not with

the sentencing court. Matheny v. Morrison, 307 F.3d 709, 712 (8th Cir.

2002); Moore v. Olson, 368 F.3d 757, 759 (7th Cir. 2004).

      The current motion is Defendant’s third pro se motion to amend or

alter his judgment. See, Motion for Relief from Judgment pursuant to

Rule 60(b), filed January 12, 2007; Order, filed February 14, 2007

(denying same); Motion to Alter or Amend Judgment pursuant to Rule

59, filed March 2, 2007; Order, filed March 5, 2007 (denying same).

The Defendant has been advised that this Court has no jurisdiction to issue

a ruling on Defendant’s motions because his case is presently on appeal

and he has been warned that he may not file pro se motions with the Court

because he is represented by counsel. To date, the Defendant has not

heeded the Court’s warning.

      Prisoners do not have an absolute and unconditional right of access

to the courts in order to prosecute frivolous, malicious, abusive or

vexatious motions. Demos v. Keating, 33 F. App’x 918 (10th Cir. 2002);

Tinker v. Hanks, 255 F.3d 444, 445 (7th Cir. 2001); In re Vincent, 105

F.3d 943 (4th Cir. 1997). The Defendant is hereby notified that all future



     Case 3:01-cr-00011-MOC     Document 470    Filed 03/13/07   Page 2 of 3
                                      3

pro se pleadings submitted by him will not be filed but will be reviewed

pursuant to a pre-filing review system. Vestal v. Clinton, 106 F.3d 553

(4th Cir. 1997). Pleadings presented to the Court which are not made in

good faith and which do not contain substance will not be filed. Foley v.

Fix, 106 F.3d 556 (4th Cir. 1997); In re Head, 19 F.3d 1429 (table), 1994

WL 118464 (4th Cir. 1994). Thereafter, if such writings persist, the pre-

filing system may be modified to include an injunction. See, 28 U.S.C.

§1651(a); In re Martin-Trigona, 737 F.2d 1254 (2d Cir. 1984).

     IT IS, THEREFORE, ORDERED that the Defendant’s motion

pursuant to 18 U.S.C. § 3572 is hereby DENIED.

     IT IS FURTHER ORDERED that no pro se pleadings submitted from

the Defendant shall be filed by the Clerk of Court absent instruction from

the undersigned.

                                      Signed: March 13, 2007




     Case 3:01-cr-00011-MOC   Document 470     Filed 03/13/07   Page 3 of 3
